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lN THE UNITED STATES I)ISTRICT COIjRT _ " z ` ' §
F0R THE EASTERN DISTRICT OF TEXAS . _ L______-_i

 

TYLER DIVISI()N § q D!MD J.MALMD. QBHK
JUNE BELT, et al. § CIVIL ACTION NO. 6: 03- CV-73
§
minnij §
§ [C()LLECTIVE ACTION]
v. §
§
(1) EMCARE, liNC., §
(2) TEXAS EM-l N[EDICAL SERVICES, P.A. § [JURY TRIAL DEMANDEI)]
(3) ST. PAUL ERDoCS, P.A. §
§
Defendants § JUDGE DAVIS

PLAINTIFFS’ MO'I`ION FOR PARTIAL SUMMARY JU])GMENT

 

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IN TH]!`J UNITED STATES DIS'I`RICT COURT
FOR THE EAS'I`ERN DISTRICT OF TEXAS

'I`YLER DIVISION
JUNE BELT, et al. § CIVIL ACTION NO. 6:03-CV-73
Plaina]_`fs, §
§ [COLLECTIVE ACTION]
v. § [JURY TRIAL DEMANDED]
EMCARE, }NC., et al. §

Defendants. § JUDGE DAVIS
PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT
'Ihis collective action involves 79 MLP’s (20 Nurse Practitioners and 59 Physician
Assistants) in 20 statesl who were employed by EmCare and EmCare-related entities, who were
paid on an hourly basis, who regularly worked in excess of forty hours in a workweek, and who
were not paid overtime compensation as required by the Fair Labor Standards Act. Plaintiff hereby
moves for partial summary judgment on the following issues:

l) that the exception to the salary basis requirement for physicians
contained in 29.U.S.C. § 541.3(€) does not apply to Nurse
Practitioners and Physician Assistants, and that, therefore, Nurse
Practitioners and Physician Assistants who are paid on an hourly
basis do not meet the salary-basis test for the Professional
exemption under the Fair Labor Standards Act, and thus must be
paid overtime for all hours worked in excess of 40 hours in a
workweek;

2) that the Illinois Plaintiffs are entitled to the payment of
overtime for all hours worked in excess of 40 hours in a workweek
under Illinois’ Minimum Wage Law; and

3) that the Washington Plaintiff is entitled to the payment of
overtime for all hours worked in excess of 40 hours in a workweek
under the Wasshington Minirnum Wage Act.

 

l The 20 states are AZ, CT, FL, GA, IL, KY, MD, M'l`, NC, NJ, NM, NV, NY, OH, PA, SC, TX,
WA, WI, and WV. The claims of an additional 12 Opt-lns from the State of Califomia have been resolved in
connection With the settlement of the Califomia class action. Another 13 persons who returned Opt-In cards Were
determined by Plaintift`s counsel to not have claims which Plaintiff’s counsel could, under Rule ll, pursue.

PLAINTIFF’S MOTION FOR PARTI_AL SUMMARY .}UDGMENT - Page ]

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I. SUMMARY oF THE ARGUMENT

Defendants pay their Nurse Practitioners and Physician Assistants (collectively, “Mid-
Levels”) by the hour, but do not pay them overtime On at least two occasions, the Department of
Labor (the “DOL,” the “Department,” or the “Secretary”) has specifically determined that
Defendants’ practice violates the law. See App. Exhibits 2 & 4. Nonetheless, Defendants continue
to pay Mid-Levels on an hourly basis, without overtime, to this very day.

Despite a wealth of authority stating that Mid-Levels in general, and Defendants’ Mid-
Levels in particular, are not within its terms, Defendants erroneously contend that the limited
“exception for physicians, lawyers and teachers” permits them to pay Mid-Levels by the hour
without paying them overtime. Because Defendants are just dead wrong, Plaintiffs are entitled to
summary judgment on the issue of liability

II. THE SUMMARY JUDGMENT STANDARD

The standards applicable to a summary judgment motion pursuant to Rule 56 are familiar
to this Court. Wyble v. GuifSouth Pipeline Co., L.P. , 308 F.Supp.2d 733, 739»40 (E.D. Tex. 2004)
(Davis, J.). Accordingly, Plaintift`s note only that they seek summary judgment on Defendants’
ajirmative defense of exemption from the FLSA and state law’ s overtime requirements which must
be narrowly construed against Defendants, Cainargo v. Tramnieli Crow Interest Co. , 318
F.Supp.2d 443 (E.D. Tex. 2004)(Davis, J.)(citations omitted).

III. ARGUMENT AND AUTHORITY
A. The Generai Statutoi‘y Framework

1. The FLSA Reqaires the Paynient 0f0vertin1e Wages to All Non-Exempt
Employees

A_s this Court has noted:

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The FLSA was enacted to provide a minimal standard of living

necessary for the health, efficiency, and general well-being of

workers and to prescribe certain minimum standards for working

conditions In applying the Act to the facts at hand, we must

liberally construe it 'to apply to the furthest reaches consistent with

congressional direction' in fulfillment of its humanitarian and

remedial purposes
Camargo, 318 F.Sapp.Zd at _. One of the FLSA’s prime purposes was to protect employees
from “the evils ofoverwork.” Barrentine v. Arkansas~Best Freight System, Inc. , 450 U.S. 728, 739
(1981). Accordingly, to discourage employers from requiring their employees to work long hours,
the FLSA requires employers to pay their employees overtime for hours worked in excess of forty
in a workweek. 29 U.S.C. § 207(a).

Any exceptions to the FLSA’s overtime requirement must be “narrowiy construed” against
the employers seeking to assert them . . .” Arnold v. Ben Kanowsky, Inc., 361 U.S. 388, 392
(1960). Oniy those employees who are “plainly and umnistakably within their terms and spirit”
may be denied overtime pay. Ia'. If an employer fails to meet even a single element of its
affirmative defense of exemption, the employees are not exempt and are entitled to overtime pay.
Usery v. Associatea' Drugs, Inc_, 538 F.2d 1191 (5“‘ Cir. 1976)(pharmacists did not fall within
professional exemption because defendant failed to prove they were paid on a salary basis).

2. The Professional Exemption.

The FLSA establishes a general rule that employers must pay their employees overtime
compensationl The FLSA then goes on to create exemptions to the overtime requirement for
executive, administrative, and professional employees Congress, in enacting the FLSA, did not
define the terms “executive, administrative, and professional;” instead it specihcally delegated to

the Department ofLabor the duty and “broad authority” to “define and delimit” the scope of these

exemptions 29 U.S.C. § 213(a)(l). Thus, the FLSA exempts from its overtime requirements an

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employee employed as a “professional” as that term is defined and delimited by the United States
Department of Labor. 29 U.S.C. § 213(a)(l); Cowart v. Ingalls Shipbuilding, Inc., 213 F.3d 261
(5‘]1 Cir. 2000). “Under the Secretary's chosen approach, exempt status requires that the employee
be paid on a salary basis ....” Auer v. Robbins, 519 U.S. 452, 456 (1997); 29 C.F.R § 541.3(e).
3. TheException to the Salary Basis Test Createdfor Doctors and Lawyers.

fn connection with the “professional” exemption, the Secretary has created a limited
exception to the salary basis requirement for those employees who hold “a valid license or
certificate permitting the practice of law or medicine or any of their branches and who is actually
engaged in the practice thereof . . .” 29 C.F.R. § 541.3(e). lt is through this exception to the salary
basis requirement that Defendants attempt to justify their failure to pay their hourly MLP’s
overtime. As the Court will see, however, there is no basis, and never has been, for even an
argument that MLP’s can come within the scope of the exception for “physicians, lawyers and
teachers.”

B. The Proner Leaal Analvsis

In deciding this Motion for Partial Summary Judgment, this Court is going to be asked to
review a regulation of the DOL and the Department’s own interpretations of that regulation
Specitically, the Court will be required to review and interpret 29 C.F.R. § 541 .3(e) as applied to
MLP’s, and, if necessary, to review numerous interpretations of § 541 .3(e) expressed by the DOL
over the last 60 years.2

The area of the interpretation of federal agency regulations and the deference which must

be accorded by a Court to the regulations and other interpretive materials of those agencies is

 

2 These interpretations include, but are not limited to, DOL opinion letters, agency reports,

preambles to the publication of regulations, agency enforcement manuals, and interpretative regulations not
adopted through “notice and comment."

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perhaps one of the most murky areas of the law today. The primary confusion that vexes many
parties and even some courts is the difference between agency regulations interpreting Statutes
versus agency interpretations of the agency’S own regulations and the difference between agency
regulations and/ or interpretations adopted pursuant to the “notice and comment” procedures of the
Administrative Procedures Act and those which are not.

Perhaps, the best-known line of cases dealing with the issue of agency deference is Chevron
US.A., Inc. v. Natural Resources Defense Coancil, Inc., 467 U.S. 837 (1984) and its progeny
Chevron dealt with the issue of the proper deference to give to agency regulations/interpretations
when the agency was interpreting a Congressional statute Under Chevron, if a statute is
unambiguous, the language of the statute (and thus the clear intent of Congress) controls, and
agency regulations and/or interpretations are given no deference by the Courts. If, however, the
statute is ambiguous or silent on the specific issue being addressed, Chevron requires Courts to
give controlling deference to an agency regulation or interpretation adopted pursuant to “notice and
comment.”3 Other agency interpretations (including regulations that were not adopted through the
“notice and comment” procedure), while not entitled to Chevron - level deference, are entitled to
“respect according to its persuasiveness” under the Supreme Court’s decision in Skidmore v. Swp‘t
& Co., 323 U.S. 134 (1944).

Chevron, however, is not applicable in this case because the issue before this Court does
not deal with an agency interpretation of a Congressional statute, in which Congressional intent is
paramount, but with an agency’s interpretation of its own regulation ln such a situation, the

deference standard of Aaer v. Robbins, 519 U.S. 452 (1997) controls. See, e.g., Hunianoids Gronp

 

3 The Supreme Court, in United States v. Mead Corp., 533 U.S. 218 (2001), held that Chevron
deference may be owed some agency rules interpreting statutes not adopted through “notice and comment” where
there is some other indication that Congress intended such rules to have the force of law.

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v. Rogan, 2004 U.S. App. LEXIS 14949 (4‘]1 Cir. June 2(), 2004) (Chevron applies when agency
is interpreting a statute, but Auer applies when an agency is interpreting its own regulations).

In Auer, the Supreme Court was faced with interpreting a provision of the salary basis test
adopted by the DOL as part of its directive to define and delimit the executive, administrative and
professional exemptions.- Finding that, because “the salary-basis test is a creatrue of the Secretary’s
own regulations, his interpretation of it is, under our jurisprudence, controlling unless “plainly
erroneous or inconsistent with the re gulation.” 519 U.S. at 461 . Thus, the Supreme Court accepted
as controlling the interpretation of the Secretary of Labor as set out in an amicus brief submitted
in that case. It is important to note that, when dealing with an agency’s interpretation of its own
regulation, the Supreme Court gave controlling deference (Chevron-type deference) to an
interpretation of the agency that had not been adopted through “notice and comment” and that did
not have the “force of law.” Thus, when Auer is applicable, ALL agency interpretations are
entitled to controlling deference Akzo Nobef Salt, Inc. v. Fed. Mine Saj%n) & Healrh Revz'ew
Comm ’n, 212 F.3d 1301, 1304 (D.C. Cir. 2000) (“[A]gency interpretations that lack the force of
law (such as those embodied in opinion letters and policy statements) do not warrant Chevron-style
deference when they interpret statutes but do receive deference under Auer when interpreting
ambiguous regulations.”).

In Christensen v. Harrr's Coumj/, 529 U.S. 576 (2000), the Supreme Court clarified that
Auer deference applies to the interpretation of regulations only when the regulation is ambiguous
If the language of the regulation is not ambiguous, the language of the regulation controls without
reference to extrinsic agency interpretations 529 U.S. at 588.

Courts sinceAuer and Christensen have thrther elucidated the proper analysis to be utilized

when examining and interpreting an agency’s interpretation of its own regulation For example,

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Judge Cobb of this District has held that when an agency pronounces what its own regulations
mean, that pronouncement is understood to beprimafacie correct Andersoa v. Gus Mayer Boston
Store of Del., 924 F. Supp. 763, 772 (E.D. TeX. 1996).4 ln Wells Fargo Bank cf Te;cas NA v.
James, 321 F.?>d 488 (5‘h Cir. 2003), the Fi&h Circuit explained:

Aaer v. Robbr'ns offers the standard to be used where an agency

interprets its own regulation To determine whetherAuer deference

is appropriate, the court must first consider whether the language of

the regulation is ambiguous Here, there is no contention that the

OCC’S interpretation of § 7.4002(a) is contrary to the plain meaning

of the regulation Thus, where, as here, the regulation is ambiguous

as to the precise issue in constest, an agency’s interpretation of its

own regulation is controlling unless it is clearly erroneous
321 F.3d at 494. (Citations omitted). The Fifth Circuit held in that case that an opinion letter
written by the Offrce of the Comptroller of the Currency was controlling on the issue before it. Id_

Thus, as initially set out in Auer, and as subsequently informed in Chrz'.s'tensen and Wells

Fargo, the proper analysis in this Circuit to be applied to a case such as this, in which the Court
is asked to review an agency’s interpretations of its own regulation, is iirst, is the regulation
ambiguous or silent as to the precise issue in contest If not, the plain meaning of the regulation
controls and the Court need look no further. However, if the regulation is ambiguous or silent as
to the precise issue in contest, then an agency’s interpretation of its own regulation is controlling

unless it is clearly erroneous

C. For Purnoses of Summarv Judgment. This Court Need Onlv Address the
Second Stage of the Auer Analysis.

For purposes of summary judgment in this case, this Court need only address the second

stage of the Auer analysis since Defendant’s case depends wholly upon 29 C.F.R. § 541 .3 14, an

 

4 As Judge Cobb eloquently noted, “What court would presume to tell an agency that when it

promulgated regulation X it did not really mean to do so?” Gus Mayer, 924 F. Supp. at 772.

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interpretive regulation (which was issued without “notice and comment”), which by definition can
come into play only in the second stage of the Auer analysis See Defendant EmCare Inc ’s Firsr
Amended Answer, p. 6, ‘[[ 3 (“EmCare asserts that the Plaintiffs and Opt-In Plaintiffs are or were
excepted from the salary requirements under the FLSA pursuant to 29 C.F.R. section 541.314
during the relevant time period and were or are not legally entitled to overtime compensation as
a matter of law.”); Defendant Texas EM-IMedical Services, P.A. ’S Firsf Amendea' Answer, p. 7,
11 3 (same).
The “notice and comment” regulation at issue is 29 C.F.R. § 541 .3(e), which provides:
(e) Who is compensated for services on a salary or fee basis at a rate
of not less than $170 per week ($lSO per week, if employed by

other than the Federal Governrnent in Puerto Rico, the Virgin
lslands, or American Samoa exc f ' oro

   
  

   

nor in the case of an employee employed and engaged
as a teacher as provided in paragraph (a)(3) of this section

29 C.F.R. § 541.3(e). (Emphasis added). Thus, the regulation itself requires that, in order to be
excepted from the salary basis test for the professional exemption, an employee must 1) hold a
valid license or certificate permitting the practice of medicine or any of its branches and 2) be
actually engaged in the practice thereof Defendants, however, have not taken the position in this
case that MLP’s fit within the above quoted language alone, but have pled that this Court must look

to one of the interpretive regulations 29 C.F.R. § 541 .3 l4(b), which was adopted without “notice

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and comment,” and which is contained in Subpart B of § 541, which is entitled “lnterpretations.”5
Additionally, Plaintiffs took the deposition in this case of the designated corporate
representative of Defendants EmCare, Inc. and Texas EM-I Medical Services, P.A. In that

deposition, EmCare’s designated corporate representative gave the following testimony:

3 Q. (BY MR. BURCH) l‘m showing you what's been marked as
4 Exhibit ll. What is that?

5 A. 29 CFR 541.314 Exception for Physicians, Lawyers,
6 and Teachers.

7 Q. And in general what is that?

8 A. lt's exception from the salary requirement for

9 various classifications of employees

10 Q. Does it also have a section name underneath it that
ll says exception for physicians lawyers, and teachers?

12 A. Yes.

13 Q. ls this the regulation that EmCare contends allows
14 it to pay mid-levels on an hourly basis but still not pay them
15 overtime?

l6 A. Yes.

***

22 Q. (BY MR. BURCH) Right. And this is the exception
23 that EmCare is relying on to the salary or fee basis test
24 applicable to professional employees correct?
25 A. That is correct

1 Q. Are there any other regulations or information that

2 you rely on to support your claim that you can pay them by the
3 hour and still be exempt'?

4 A. No.

EmCare Depo., pp. 82 - 84.

5 Q. Are nurse practitioners engaged in the practice of

6 medicine?
* * >I¢

9 A. EmCare‘s position is that nurse practitioners are

10 other practitioners licensed and practicing in the field of

ll medical science and healing or any other medical specialties
12 practiced by physicians or practitioners.'5

EmCare Depo., p. 85

 

5 § 541.3, which Mi_s_ adopted after notice and comment is a part of Subpart A of § 541, which is
entitled “General Regulations”

6 Note that this is a direct quote from 29 C.F.R. § 541 .314(1))(1). 'I`he language upon which
EmCare relies is specincally NOT contained in the regulation itself, 29 C.F.R. § 541 .3(e).

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EmCare Depo., p. 98

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Q. (BY MR. BURCH) Yes. Well, let rne ask you this; Do
you contend that mid-levels have an academic degree for the

general practice of medicine?
A. l do not.
Q. Okay. And neither does EmCare?
A. No.

Q. (BY MR. BURCH) Let's try it like this Does EmCare
contend that nurse practitioners hold a valid license or
certificate permitting the practice of medicine or any of its
branches?

A. EmCare contends that nurse practitioners and PAs are
other practitioners in the field of medical science and

healing.

Q. And is l understand it, you're talking about now

section Bl, right?

A. Correct.
Q. Let's look up at section A, the different section.
A. Right.

Q. Okay. Does EmCare contend that physician assistants
hold a valid license or certificate permitting the practice of
medicine or any of its branches?

A. EmCare contends that PAs and nurse practitioners
hold valid licenses or certificates which allow them to
practice as NPs and PAs, and that practice fits them within
the other practitioners in the field of` medical science and
healing. That's the position of EmCare.

EmCare Depo., pp. 102-103.

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Q. (BY MR. BURCH) Does a physician assistant hold a
valid license or certificate permitting the practice of
medicine or any of its branches?

A. It‘s EmCare's position that nurse practitioners and
physician assistants are licensed -- that the practice of
medicine or any of its branches is broad enough to include
physician assistants and nurse practitioners given the context
of section A and B.

Q. Okay. So it's EmCare's position that with respect
to 29 CFR 541.314 nurse practitioners and physician assistants
hold a valid license permitting the practice of medicine or
one of its branches?

A. When that statute's -- when that regulation‘s read
in connection with both section A and B, yes, that is EmCare'S
position

Q. And what branch of medicine do they practice?

A. They are nurse practitioners and PAs.

Q. And what branch of medicine is that?

A. 1 can't answer the question anymore than l already
did. The answer is --

Q. ls it osteopathy?

A. It‘s EmCare's position that they are licensed to

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8 practice medicine or any of its branches read in connection
9 with section Bl, that nurse practitioners and PAs fall within
10 that definition 1 can't answer the question anymore than
l 1 that, and, you know, that's all I can say.
12 Q. Okay. Without looking at that, are nurse
13 practitioners licensed to practice medicine?
14 A. l've already answered that question. They are not
15 doctors If you're --
16 Q. Are they licensed to practice medicine? Yes? No?
17 A. Defined by the Medicai Practice Act?
1 8 Q. Sure.
19 A. No.
20 Q. Are physician assistants licensed to practice
21 medicine?
22 A. As defined by the Medical Practices Act?

23 Q. Yes.

24 A. No.

25 Q. Okay. ls that true in every state that you're aware
1 of?

2 A. Yes.

EmCare Depo., pp. 104-105.

This testimony makes clear, along with its Answer, that EmCare does not rely upon the
language of § 514.3 alone, which it would have to do in order to argue that § 514.3 unambiguously
included MLP’s (which it obviously does not), but instead relies upon an agency interpretation of
§ 514.3 to support its position. While Plaintiff believes that § 514.3 unambiguously excludes
MLP’s from its scope, that is an issue that the Court need not address given that, even accepting
the Defendant’s implied position that § 514.3 is ambiguous and that this Court must look to the
DOL’s interpretation of § 514.3 to determine whether MLP’s are included with its scope, a review
of all of the DOL’s interpretations of § 514.3 _ ail of which would be entitled to deference under
Auer - leads to the inescapable conclusion that, as a matter of]aw, MLP’s are NOT included within
scope of § 514.3(e)’s salary basis exception for physicians

D. The DOL Has Consistently Refused to Extend the Exception to the Salag

Basis Reguirement Beyond Doctors and Has Consistently Held that the
Exceptiou Does Not Apply to MLP’s.

1. The History ofthe Salary Basis Testfor Professt'onals.

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The origins of the salary basis test date back to the year the FLSA was passed - 1938. In
that year, the Department issued its first set of regulations which required payment “at not less than
$30 . . . for a workweek” in order to qualify for the “executive” and “administrative” exemptions
from the FLSA’s overtime requirements 3 Fed. Reg. 2518 (1938). The salary requirement was
not initiaily imposed as a requirement under the professional exemption Id.

However, in 1940 the Department conducted extensive hearings on the regulations which
govern the contours of the “white collar” exemptions See “Executive, Administrative,
Professional * * * Outside Salesman” Redeiined, Wage and Hour Division, U.S. Department of
Labor, Report and Reconnnendations of the Presiding Officer (Harold Stein) at Hearings
Preliminary to Rcdetinition (Oct. 10, 1940) ("Stein Report"), pp. 1-2. As a result of these hearings,
the presiding officer concluded that the term “professional” could no longer be limited to the
“traditional professions of law, medicine and theology . . .’” Stein Report, p. 35. lnstead, the “field
of the professions is an expanding one and 20 years from now profession whose members will
qualify will no doubt be found in occupations not recognized as professions today.” Id.

Accordingly, most of the recommended changes to the professional exemption resulted in
the exemption of “more employees than have heretofore been exempt.” Stein Report, p. 36.
However, the presiding officer was concerned that the expansion of the term professional also
“created an opening for abuse in its application.” Id. Therefore, “in order to avoid disputes, to
assist in the effective enforcement of the act and to prevent abuse, it appears essential . . . to include
a salary test in the definition fof professional].” Id. Based upon these findings, which were part
of the “notice and comment” procedure for the adoption of § 541 .3(e), the Department included
a salary basis test in the regulation governing the professional exemption See 5 Fed. Reg. 4077-

407 8. Thus, it is clear that “the salary-basis test is a creature of the Secretary's own regulations.”

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Auer v. Robbins, 519 U.S. 452 (l997)(intemal citations omitted). The Department’s “interpretation
of it is, under our jurisprudence, Controlling unless plainly erroneous or inconsistent with the
regulation.” Id.; see also, Martin v. Occupan'onal Safety andHealth Revt`ew Com 'n, 499 U.S. 144,
151(1991)(“Because applying an agency's regulation to complex or changing circumstances calls
upon the agency's unique expertise and policymaking prerogatives, we presume that the power
authoritatively to interpret its own regulations is a component of the agency's delegated lawmaking
powers.”). It is against this backdrop that the Court must consider the proper scope of any
exception to the salary basis test. ii

2. The Limz'ted Excepz‘z'on to the Salary Basis Testfor Doczors and Lawyers.

In expanding the salary basis test to cover professional employees in 1 940, the Department
nonetheless recognized that the “tbree traditional professions of law, medicine and theology occupy
a distinctive position in the United States as well as elsewhere.” See Stein Report, p. 42.
“Members of these professions acquire a special status and are recognized as quasipublic officials.”
Id. The Department went so far as to remark that “until recently only the members of these
professions would have been considered as persons employed in a bona fide professional capacity.
Id. The Departinent, therefore, reasoned that “while a reasonable definition of ‘professional’ must
extend beyond the traditional professions . . . some special consideration for members of these
professions is reasonabie.” Id. (emphasis added).

In recognition of the special status of doctors and lawyers in society, as well as the licensing
requirements applicable to these professions, a limited exception to the salary basis test was
proposed for members of the traditional professions of law and medicine Stein Report, p. 42. This
limited exception was applicable “only to those who have received a State license or certificate to

practice law or medicine.” Id. lt was only within these two professions that a State license was

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thought to be an “adequate” substitute for the salary test. Id. The Department was careful to
distinguish, however, between the “newer learned professions” who are subject to the salary basis
test, and the traditional professions of“law and medicine” who are not. Id. , p. 36. Thus, after this
careful study and review, the Department expressed this view through a limited exception to the
salary basis test for holders of a “valid license or certificate permitting the practice of law or
medicine or any of their branches and who is actually engaged in the practice thereof.” 5 Fed. Reg.
4077, 4078.
3. The DepartmentHas ConsistentlyRejectea’Ej”orts to Expand the Exception
to the Salarjy Bast`s T est Beyond the "Original, Lz'mited Number of
Profe.s'.s'ions that Were Not Subject to the Salarjy Test.”
a. In ]949. the Department of Labor Conducted Hearings and

Determined.' l 1 The Sala;y Basz's T est ShouldRemaz'i/t Intact,‘ and 21

The Exception Should Continue to Be Limitea’ to “Doctors and
Lawers.”

The Department consistently rejected every proposal to expand the scope of the limited
exception for “physicians” and lawyers beyond the “0riginal, limited number of professions”
within its terms. See, e.g., 69 Fed. Reg. 22122, 22172 (2004)(emphasis added). For example, in
1949, the Department of Labor again held hearings with respect to the proper scope of the
“executive, administrative and professional” exemptions to the overtime requirements At the
hearings, some commentators suggested that the “the salary tests be eliminated from the
regulations.” Report and Recommendations on Proposed Revisions of Regulations, Part 541 (June
1949)(“Weiss Report”), p. 7. Others proposed that the exception to the salary test for “doctors and
lawyers” be extended to cover “architects, engineers, and librarians.” Weiss Report, pp. 76-78.

In rejecting these arguments, the Department noted that it had “found no satisfactory

substitute for the salary test.” Weiss Report, pp. 7-3. Moreover, the Department found that

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payment on a salary basis was “one of the recognized attributes of . . . professional employment.”
Id. The Department also specifically rejected the proposal to expand the “doctor and lawyer”
exception to cover other professionals Weiss Report, pp. 76-78.

The Department reiterated that the salary basis exception for doctors and lawyers was “the
traditional standing of these professions, the recognition of doctors and lawyers as quasi-public
officials, and the universal requirement of licensing by the various jurisdictions.” Id., at 77. rIhe
Department also noted the “relatively simple problems of classification presented by these
professions” Id. Thus, the proposal to expand the “doctor and lawyer” to other professions was
specifically rejected Accordingly, employers were again put on notice that only “physicians and
lawyers” were within the scope of the exception Id.

b. fn 1949. the Department Noted That the Clause "Or Anv ofTheir
Branches ” Has Alwavs Been Lz'mited to “Doctors and Lawvers ”

The Weiss Report went on to highlight the narrow scope of the “doctor and lawyer”
exemption For example, the Department noted that questions had “been raised as to the meaning
of the phrase ‘or any of their branches.”’ See Weiss Report, p. 78. Consistent with its initial
determination that the salary basis exception applied only to these professions, the Department
reconfirrned that “this exception applies only to the traditional professions oflaw and medicine and
not to employees in related professions which merely service the professions of law and medicine.”
Id. (emphasis added). The Department of Labor specifically noted that “pharmacists, nurses, or
other professions which service the medical profession” do not fit within the salary basis exception
Id. (emphasis added).

c. fn 1949 the Department Ador)ted 8 541 .314. an Interpretive
Regulation, Which Exnresslv Lt`mited the Scor)e off 541 .3 to "the

TraditionalProfessions ofLaw andMea’z'cine andNot to Employees

in Rel'atea’ Professions Which Merelv Servr'ce the Prof`essions of

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Law or Medicine.”

In 1949, following the issuance of new regulations, including § 541.3, the DOL issued
without “notice and comment” an “explanatory bulletin” containing “statements of general policy
and interpretations” related to the newly adopted regulations which were intended to “outlin[e] and
explain[] the application of these regulations to specific types of situations.” 14 Fed. Reg. 7730.
Section 541 .314 was one of the interpretive regulations contained in this “expla.natory bulletin.”

14 Fed. Reg. 7743.
The original version of § 541 .3 14, adopted in 1949, provided:

A holder of a valid license or certificate permitting the practice of
law or medicine or any of their branches, who is actually engaged
in practicing the profession is excepted from the salary or fee
requirement This exception applies only to the traditional
professions of law and medicine and not to employees in related
professions which merely service the professions of law or
medicine For example, in the case of medicine, the exception
applies to physicians and other practitioners in the field of medical
science and healing, such as dentists, or any of the medical
specialties, but it does not include pharmacists, nurses, or other
professions which service the medical profession

29 C.F.R. § 541.314 (1949).7
d. fn ]958, the Department Once Agat'n Re@sed to Exgand to Scoge

ofthe Doctor and Lawvers Excer)tion.
ln 1958, the Department of Labor again issued a report on “the hearings held to determine
what changes, if any, should be made in the salary tests contained in the Regulations, Part 541 .”
See United States Department of Labor, Wage and Hour and Public Contracts Divisions,

“Executive, Administrative, Proposed revision of Regulations, Part 541, under the Fair Labor

 

7 The “traditional profession ofmedicine” limitation is taken directly from the Stein Report which

preceded - and proposed -the adoption of the regulation found at 29 C.F.R. § 541.3. Stein Report, p. 42. 'l`hus, the
“traditional profession of medicine” limitation has been part of the “doctor and lawyer" exception since its
inception

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Standards Act, Report and Recornmendation (March 3, 1958)(the “Kantor Report”). At the
hearings, proposals to eliminate the salary basis test, as well as to expand its “doctor and iawyer”
exception, were considered Kantor Report, p. 3.

in rejecting the proposal to do eliminate the salary requirement, the presiding officer again
stated that in “the years of experience in administering the regulations, the [Department’s
investigators] have found no satisfactory substitute for the salary tests.” Kantor Report, p. 3. ln
rejecting the proposals to expand the salary basis exception, the Department noted that similar
proposals had been rejected in 1949. The presiding officer concluded that the original basis for the
exception still held true.

e. T he Department ofLabor Revi'sed the "thsician and Lawver”
Exce don in 1967 but did not Ex and the De tuition 0 Ph sician

and Lawers Beyond Thei`r Original Scor_)e.

In 1956, the FLSA was amended to include school districts within it scope for the first time,
and thus in 1967, the Department expanded the exception for physicians and lawyers to include
teachers 32 Fed. Reg. 7823, 7829 (1967). However, the DOL did not alter the definition of

physicians or lawyers beyond their original scope Id.

f. In 1973, theDOLRevi'sed § 54].314, OnceAgain ExgresslyLimifing
the Scop_)e of § 541.3 to "the Tradifz`onal Professi`ons of Law and
Medicine and Not to Emglogees in Related Professi'ons th`ch

Merelv Servt'ce the Professions ofLaw or Medict`ne.”
In 1973, the DOL, without “notice and commentg,” issued the current version of § 541 .3 14.
38 Fed. Reg. 11407. lt is upon this interpretive regulation that Defendants rest their defense that
MLP’s are included within the salary basis exemption for physicians, lawyers and teachers To

reach this conclusion, Defendants must not only adopt a tortured interpretation of § 541 .3 14 which

 

3 see 38 Fed. Reg. 11390.

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embraces selected language of this interpretive regulation, but ignores other language, it must also
ignore all of the other agency interpretations discussed herein that are entitled to equal deference
under Auer.

1) Because EmCare admits MLP’s are not physiciansa lawyers
or teachers. the “Exception for thsicians. Lawvers and Teachers” does not aDDlv. The
interpretive regulation upon which Defendants rely is titled “Exception for physicians, lawyers and
teachers.” 29 C.F.R. § 541 .3 14. However, when questioned regarding this regulation, EmCare
admitted that Mid-Levels are neither physicians, nor lawyers, nor teachers. EmCare Depo., p. 43,
l. 7-14. Therefore, the Court need look no further than the caption of the regulation to determine
that Mid-Levels do not fit within the terms of the exception for “physicians, lawyers and teachers.”
29 C.F.R. § 541.314.

2) The language of § 541 .314§ al makes it clear that only those
who 1 1 hold valid licenses or certificates permitting the practice of medicine; and 21 are actually
engaged in practicing the profession of medicine, are exempt from the salapg basis test. Although

29 C.F.R. 541.314's title clearly excludes Mid-Levels from its terms, this interpretive regulation
goes on to clarify that it applies only those who: I) hold valid licenses for the practice of medicine;
and who 2) are actualiy engaged in practicing the profession of medicine 29 C.F.R. § 541 .3 14(a).
Thus, the salary basis exception for physicians is limited to an employee “wlio holds a law or
physician’s license and works as a lawyer or doctor.” See Close v. State ofNew York, 1996 WL
67979, 131 Lab.Cas. P 33,397, 3 Wage & Hour Cas.2d (BNA) 225 (N.D.N.Y. Feb l3, 1996) (NO.

94~CV-0906).9 Defendants cannot meet either requirement

 

9 This case was reversed on wholly unrelated, jurisdictional grounds Close v. State ofN. Y., 1996

WL 481550, 3 Wage & Hour Cas.2d (BNA) 856 (N.D.N.Y. Aug 19, 1996) (NO. 94-CV-0906)(vacating prior
decision on Constitutional grounds, and dismissing for lack ofjurisdiction) ajf’d 125 F.3d 31 (Z“d Cir. 1997).

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lt is beyond question that licensed Mid-Levels cannot and do not have licenses or
certificates permitting the practice of medicine10 ln fact, Defendants do not contest that Mid-
Levels do not hold a “1icense to practice medicine” within the meaning of any Medical Practices
Act in any state in which EmCare operates EmCare Depo., p. 105, l. 16 - p. 106, l. 2.
Accordingly, EmCare cannot demonstrate that Mid-Levels hold valid licenses or certificates
permitting the practice of medicine.

Since they do not have licenses to do so, it is beyond cavil that Mid-Levels are not
“engaged in practicing the profession” of medicine ln fact, EmCare readily concedes that Mid-
Levels are not physicians nor doctors. EmCare Depo., p. 43. EmCare also admits that Mid-Levels
do not practice medicine in the same manner as a physician Id., p. 86, l. 5-12. Accordingly,
EmCare concedes that Mid-Levels are not “engaged in practicing the profession of medicine.”

Instead, EmCare suggests only that Mid-Levels are “other practitioners licensed and
practicing in the field of medical science and healing or any other of the medical specialties
practiced by physicians or practitioners.” EmCare Depo., p. 85. In other words, Defendants rely
solely upon their contorted interpretation of the interpretive regulation contained at 29 C.F.R.
§541 .3 l4(b)(1). However, because Defendants’ concede they cannot meet the express requirement
that Mid-Levels be “engaged in practicing the profession” of medicine, Plaintiffs are entitled to

judgment as a matter of iaw.

3) Since Mid-Levels did not exist at the time the “Doctor and

 

Lawver” exception was created. thev cannot be members of the “traditional profession of

 

10 See, e.g., Weyandt v. State, 35 S.E.Bd 144, 148 (Tex. App. f Houston [14‘h Dist.] 2000)(an
advanced nurse practitioner “is not licensed to practice medicine in Texas.“); Bradford v. Alexander, 886 S.W.2d
394, 397 ('I`ex. App.- Houston [l“ Dist.] 1994)(holding that a “physician assistant does not practice medicine”
within the meaning of the Texas Medical Liability and lnsurance lmprovement Act).

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medicine.” Since its inception the salary basis exception for physicians has applied “only to the
traditional professions of law [and] medicine . . ..” 29 C.F.R. § 541.314; Stein Report, p. 42.1l
Signiticantly, neither Nurse Practitioners nor Physician Assistants even existed at the time the
salary basis test, its “doctor and lawyer” exception, nor the interpretive regulation upon which
EmCare relies, were created.12 Accordingly, these professions could not have been within the
“original, limited number of professions that were not subject to the salary test.” 69 Fed. Reg.
22172.
Even the specific language of § 541 .314(1)) into which EmCare attempts to wedge Mid-
Levels - “other practitioners licensed and practicing in the filed of medical science and healing” -
was adopted well before Mid~Levels existed. This language was included in the original 1949
version of § 541 .3 14 and was used to described dentists. 14 Fed. Reg. 7743. ln the current version
of § 541 .3 14, this language is used to describe dentists, podiatrists and optometrists, all of whom
are customarily referred to as “doctors.” Because Mid-Levels are not members of the traditional
profession of medicine, Mid~Levels are expressly excluded from 29 C.F.R. § 541 .3 14.
4) WM£MQMQ£MU

Are NOT within the scope of 29 C.F.R. § 541 _3 14. Further clarifying the narrow scope of § 54 i .3,

the interpretive regulation notes that “employees in related professions” which serve the medical
profession are excluded from the salary basis exception 29 C.F.R. § 541 .314(a). Because Mid~

Levels are not members of` the “traditional profession of medicine,” they are members of the

 

11 Whiie “teachers” have been added to this exception1 this has not altered the scope of the
physician exception

12 See, e.g., Elizabeth H. Hadley, Nurses and Prescrzprive Anthority: A Legal and Economic
Anaiysis, 15 Arn. J. L. & Med. 245 at n. 104 (l989)(noting that the first nurse practitioner and physician assistant
programs began in the 1960's).

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“related professions” in the health care field. Id. As such, Mid-Levels are excluded from the salary

basis exception for physicians.
5 ) The examples of “physicians and other practitioners”
provided by the Department ofLabor are all “Doctors” within the common sense of the word. The

Department also provides specific examples of the professionals included within the salary basis
exception for physicians 29 C.F.R, § 541 .3 14(b)(1). For example, “medical doctors” and “doctors
of osteopathy” are given as examples of those meeting the definition of “physician.” Id. The
Department list doctors of “podiatry,” “dental medicine,” and “optometry” as professions which
“may” fall within the definition of “other practitioners.” Id. Each of these examples, however,
clearly fall within the common sense definition of the word “doctor.” This is, of course,
unsurprising given that the Department has repeatedly referred to the salary basis exception as the
exception for “doctors and lawyers.” See, e.g., Weiss Report, p. 77 (salary basis exception limited
to “doctors and lawyers”); Kantor Report, p. 4 (sarne); 68 F.R. 15560, 15561 (the “salary
requirements do not apply to certain licensed or certified doctors, lawyers and teachers . . ...”). 13

EmCare attempts to shoehorn Mid-Levels into § 541 .3 by attempting to include them within
the “other practitioners” language of § 541 .314(b)(1). To do so, however, would read several other
phrases in § 541 .3 14 right out of the interpretive regulation including the: (l) “holder of a valid
license or certificate permitting the practice of law or medicine or any of their branches ”; (2)
“applies only to the traditional professions of law, medicine and teaching”; and the (3) “not to

related professions which merely service these professions” limitations of § 541.314(&). To do so

would further require inclusion in the “other practitioner” category of an occupation not commonly

 

, :3 Similarly, Defendants’ long-time outside counsel - Littler Mendelson - has repeatedly referred to
541.314 as an exception for “teachers, lawyers or doctors See, e.g., App., Ex.19.

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referred to as “doctor” for the first time ever. And to do so would require this Court to ignore 60
years of consistent DOL interpretations holding that § 541 .3 applies only to the original, traditional
professions for which it was initially adopted

6) Because 29 C.F.R. § 541 .314(0) excludes medical
occupations which service the medical profession ( such As pharmacists. nurses & psychologist§L
the salag basis exception for physicians does not apply to Mid-Levels. Finally, the interpretative
regulation makes clear that in “the case of medical occupations, the exception from the salary or
fee requirement does not apply to pharmacists, nurses, therapists, technologists, sanitarians,
dietitians, social workers, psychologists, psychometrists, or other professions which service the
medical profession” 29 C.F.R. 541 .3 149(0). In other words, every profession in the medical field
other than that of a doctor must be paid on a salary basis in order to be exempt.

This broad exclusion is particularly significant given that, for example, pharmacists
“complete a doctoral program before they are licensed . . 69 Fed. Reg. 22122, 22172 (2004).
Pharmacists have some degree of prescriptive authority in a majority of the states. See, e.g.,
N.M.S.A., Ch. 61, Art. llB (New Mexico); N.D.C.C., Ch. 43-15-31.4 (North Dakota); Az. Stat.
Ann. § 32-1970 (Arizona). Nonetheless, the Department has repeatedly reaffirmed that rising
professional standards do not warrant the expansion of salary basis exception. 69 Fed. Reg. 22122,
221 72.

The Department has repeatedly defined the term “nurse” to include “nurse practitioners.”
See, e. g., DOL Employment Standards Administration, Wage and Hour Division, Service Contract
Directory of Occupations, § 12000 Health Occupations (defining “Registered Nurse” to include
Nurse Practitioners). Accordingly, there can be little doubt that the term “nurse” as used within §

541.314(0) includes nurse practitioners who are, as their name implies, nurses. Indeed, the

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Department of Labor distinguishes between the learned professions of “rnedicine” and that of
“nursing.” 29 C.F.R. § 541.301(6)(1).

Similarly, in its current proposed regulations, the Department notes that “Physician
Assistants generally meet the duties requirements of the learned professional exemption.” 69 Fed.
Reg. 22260, 22265-66 (2004). However, in the economic impact report issued along the 2004
proposed regulations, the Department notes that Physician Assistants “are Subjeci to the Part 5 41
Salary Level rest.” 69 Fed. Reg. 22191, 22245 (2004)(emphasis added).14 As such, there is simply
no question that the “exception for physicians, lawyers and teachers” does not extend to Mid-
Levels.

g. The Department of Labor Specificallv Addressed the Overtime

Siaius of Physician Assistants in 1974 and 1994 and Deter'mined
that a Salazy was Reguired for Exemp_tion.

In 1974, the Department was called upon to address the “professional” status of Physician
Assistants directly. See DOL Wage & Hour Div. Op. Ltr., 1974 WL 38705 (May 10, 1974). The
Department concluded that Physician Assistants would be exempt if, while performing the duties
of Physician Assistant, the employee “is compensated for his or her services on a salary basis of
not less than $200 a week, exclusive of board, lodging, or other facilities.” Id. Defendants concede
that the opinion letter states that Physician Assistants must be paid on a salary basis in order to
qualify for exemption See, e.g., EmCare Depo., p. 88, 1. 23-25_

The Departrnent’ s Field Operations Handboolc15 (FOI-I) also addresses the requirements for

 

14 Conversely, the Department’s economic impact report demonstrates that none of the nation’s

“physicians,” “dentists,” “optometrists,” and “podiatrists,” are “subject to the Part 541 Salary Level test.’1 69 Fed.
Reg. 22191, 22245 (2004). ln fact, the Department “identitied separately lthese Workers because] they are covered
by the FLSA’s overtime provisions but are not subject to the Part 541 salary level tests.” 29 Fed. Reg. 22191,
22201 (2004).
15 Courts routinely rely upon the Department’s FOH for guidance in determining the Department’s
views on issues under the FLSA. See, e.g., Picion v. Excel Group, Inc., 192 F.Supp.Zd 706 {E.D.Tex. 2001).

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treating a Physician Assistant as exempt from the FLSA’s overtime requirements See FOH §
22d23 (1974) and FOH § 22d23 (1994). In fact, the FOH specifically references Physician
Assistants in both its 1974 and the 1994 editions. Id. As might be expected given the
Department’s consistent views on the topic, both versions of the FOH specifically require
Physician Assistants be paid on an salary basis in order to qualify for the “professiona ” exemption
I¢i.‘°
h. Between 2001 and 2003. the Department ofLabor Has, on at Least
Three Occasions informed EmCare that its Practice ofPavin,q Mid-
Leveis on an Houriv Basis without Pai)in,q Them Overtime violates
MLM
In June 2001, the DOL office in Coluinbia, South Carolina, began an audit /investigation
of EmCare and South Caolina EM-l Medical Services. See App. Exh. 2. In that audit, the DOL
specifically found that the “541.3 exemption is not applicable to the hourly paid physician’s
assistance [sic] and nurse practitioners.” App., Ex. 2. The Department further stated, “Non-exempt
hourly paid PA’s and NP’s paid regular rate of pay for overtime hours worked.”17
In September 2001, the Arlington, texas office of the DOL conducted an audit/ investigation
of EmCare and Texas EM-l Medical Services. See App., Exh. 3. In a letter to the investigator,
Defendants’ counsel, Littler Mendelson, states that the DOL was challenging “the exempt status
of [NP’s and PA’] because some of the are not paid on a salary or fee basis.”

In Septernber 2002, the Arlington, Texas office of the DOL initiated another audit of

EmCare’s pay practices See App., Exh. 4. In Ianuary 2003, the Investigator in that audit

 

m Defendants are aware of the FOH and that it “says that [Mid~Levels] have to be paid on a salary
basis.” EmCare Depo., p. 76, l. 3-8. What did Defendants do after receiving this infonnation? They “didn’t
do anything.” EmCare Depo., p. 7')', l. 2-13.

17 lnterestingly, EmCare has been “unable” to locate its filed with regard to the South Carolina
DOL for production in this lawsuit 'Ihis is despite the fact that EmCare’s corporate representative, Crai g Wilson,
reviewed the file regarding the South Carolina investigation within the three months prior to his deposition

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determinated that no exemptions applied to EmCare’s NP’s and that EmCare “has Nurse
Practitioners, who on a salary basis would be classified as exempt, being paid an hourly rate . . .
“ App., Exh. 4. The Investigator called EmCare’s Vice President of Human Resources on January
27, 2003 and outline EmCare’s violations of the FLSA. Id.
i. As Recentlv as Aprii 2004, the Department Has Specificailv
ReiectedProposals to Exr)and the "Doctor ancillaer ” Exception
Based on Increases in the "Educational Reauirements and
Professional Standards " of Meciical Professionals other Than
M-
ln 2003, the Department undertook a “comprehensive review” of the white-collar
exemptions and published proposed regulations designed to “update” the overtime regulations. See
Proposed Rules Defining and Delimiting the Exemptions for Executive, Administrative,
Professional, Outside Sales and Computer Employees, 68 Fed. Reg. 15560, 15571 (2003). In its
initial proposed regulations, the Department suggested that the “exception to the salary or fee
requirements for physicians and lawyers” be retained without substantive change Id., at 15,568.
Nonetheless, the Department specifically requested comments on the alternative of “removing the
salary tests from the regulations entirely” or “adopting a ‘ salary only’ test for highly compensated
employees” that would not depend at all on the duties of those employees Ici. These proposed
regulations resulted in numerous comments and suggestions regarding the “Doctor and Lawyer”
exception to the salary basis requirement
ln April 2004, the Department issued the new regulations currently slated to go into effect
in August 2004. The Department noted that it “considered but rejected suggestions from

connnenters that [it] remove the salary basis requirements for registered nurses and others.”13 69

F.R. 22172. In addition to registered nurses and physician assistants, some commenters suggested

 

18 As it happens, one of` these “others” was Physician Assistants See AAPA Letter prp. Exh. 20].

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“the exception to a minimum salary test for physicians should apply to pharmacists.” Id`. ln
particular, it was emphasized that “the educational requirements and professional standards . . .
have increased substantially since the regulations were last revised.” Id. “For example,
pharmacists graduating today complete a doctoral program before they are licensed to practice.”
Id.

in response, the Department held that it was “not . . . appropriate to expand the original,
limited number of professions that were not subject to the salary test.” 69 Fed. Reg. 22172
(emphasis added). Although the Department agreed that “the standards for the profession are
rising,” this “does not mean that the minimum salary requirement to be exempt should be
removed.” Id. 'l`his is consistent with the Department’s longstanding position - contained in both
its regulations and its other interpretive materials - that the salary basis exception “applies only to
the traditional professions of law and medicine and not to employees in related professions which
merely service the professions of law or medicine.” See, e.g., 14 Fed. Reg. 7743 (December 28,
1949 version of 29 C.F.R. § 541.314); Stein Report, pp. 36, 42; Weiss Report, p. 78; Kantor
Report, p. 4 (“doctors and lawyers” are excepted from the salary basis requirement).

Moreover, the preamble to the new overtime rules issued in April 2004 contains two charts
- one titled “Nurnber of FLSA Covered Workers in White-Collar Occupations that are Subject to
the Part 541 Salary Level Test” and the other titled “Nurnber of Workers in CPS Cocupations That
are Not Subj ect to the Part 541 Salary Level Test.” The first chart demonstrates that zero
physicians are subject to the salary basis test. 69 Fed. Reg. 22245. That same chart states that
there over 87,000 Physician Assistants subject to the salary basis test. Ia'. The second chart shows
overt 5 50,000 physicians are not subject to the salary level test, but does not show a single Mid-

Level within that category. 69 Fed. Reg. 22201. These charts further demonstrate that the DOL

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considers Mid-Levels to be beyond the scope of the exception for physicians and lawyers.

j. la Aprii 2004, the Department Speciticallv Deait with

Physician Assistants and Determined Not to Inc[ude litem
Withiri the Salary Basis Excegtion

ln the new regulations published in April 2004 and scheduled to go into effect August 23,
2004, the Department has added a regulation specifically dealing with the professional status of
Physician Assistants 69 Fed. Reg. 22153. That new regulation adopted the DOL’s enforcement
policy contained in § 22d23 of the FOH, that PA’s who meet certain educational requirements
generally meet the duties requirements for the learned professional exception Id. After
specifically considering a comment filed by the Arnerican Academy of Physician Assistants
(“Ai!tPA”),19 however, the Department adjusted the educational requirements to be included in the
final regulation 29 Fed. Reg. 22153-54. However, the Department specifically rejected that
AAPA’s position that § 541 .314 exception be expanded to include Physician Assistants. App.,
Exh. 20; 69 Fed. Reg. 22172.

4. Case Law interpreting The Doctor and Lawyer Exception Confirms its
N£ZFFOW Param€r€rs.

ln Harrison v. Waskington Hospitai Center, 1979 U.S. Dist. LEXIS 10063 (D.D.C. August
31, 1979), the defendant made an argument regarding Registered Nurses strikingly similar to the
argument made here by EmCare regarding Mid-Levels. ln Harrison, the Defendant argued that
Registered Nurses were more than nurses as identified in § 541 .314, and that the regulation “does
not take into account the changes that have occurred in the practice of nursing” since the adoption
of the regulation The defendant in that case argued, much as EmCare does here, that “many of the

functions that were formerly carried out by physicians are now performed by registered nurses are

 

‘° see App., Exh. 20.

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presently engaged in the practice of medicine.” The court rejected this argument, finding that the
line drawn by the Administrator, between the professions of law and medicine and the professions
which serve them controlled on this issue. Id.

E. Because Mid-Levels are Non-Exempt Under the FLSA, They are Non-Exempt
Under Illinois State Law

The Illinois Minimum Wage Law (IMWL) law requires the payment of overtime wages.
lL ST CI-l 820 § 105/4a The IMWL “parallels the language of [the FLSA] . . . and illinois courts
subject the state statute to the same interpretation and application as its federal counterpart.”
Baudin v. Conrtesy Litho Arts, Inc., 24 F.Supp.Zd 887, 894 (N.D.Ill. 1998) citing Haynes v. Tru-
Green Corp., 154 lll.App.3d 967, 977, 107 Ill.Dec. 792, 507 N.E.Zd 945, 951 (4th Dist.1987).
Courts “therefore treat the two statutes as co-extensive . . ..” Baua’in, at 894 citing Concio v. Sysco
Corp., l F.3d 599, 601 n. 3 (7th Cir.1993). Accordingly, an employer’s failure to establish an
exemption under the FLSA is also a failure to establish an exemption under Illinois state Iaw.
Klein v. Rush-Presbyterian-St. Luke's Metiical Center, 990 F.2d 279, 288 (71h Cir. l993)(nurse Who
was not an “exempt employee under the FLSA [was] therefore . . . also not an exempt employee
under the Illinois Minimum Wage Law.”)

For the reasons set forth above, EmCare cannot establish that its hourly paid Mid-

Levels are exempt from the overtime requirements of the FLSA. Therefore, the Illinois Plaintiff
is also non-exempt under the IMWA.20

F. Mid-Levels Are Entitled to 0vertirne Under Washingten State Law

Like the FLSA, the Washington Minimum Wage Act (WMWA) “requires . . . that

 

20 In Re Farmers lawrence Exchange Clrrims Representutives' Overtirne Pay Litigation, 300

F.Supp.2d 1020, 1050 (D.Or. 2003)(“The statute of limitations on plaintiffs‘ Illinois [state law overtime claims] . . .
is three years without regard to willfulness_“)

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employers pay their employees at a rate of one and one-half times their regular hourly rate for time
worked beyond 40 hours per week, unless an individual is employed in a ‘bona fide ... professional
capacity.”’ Drinkwitz v. Allicint Techsystems, Inc., 996 P.2d 582, 586 (Wash. 2000) citing RCW
49.46.010(5). Similar to Congress’ delegation of authority to the Department, authority to “define
and delimit” the term “professional” has been left to Washington's Department of Labor and
Industries (DLI). Id. As with the FLSA, “exemptions are to be narrowly construed” against the
employer seeking to assert them. Ciawson v. Grays Harbor Coll. Dist. No. 2, 61 P.3d 1 130, 1136
(2003).

The DLI defines a “professional” employee, in part, as an individual compensated for their
services “on a salary or fee basis.” RCW 49.46.010(5)(c);WAC 296-128-530(5). The sole
exception thereto is limited to “an employee who is the holder of a valid license or certificate
permitting the practice of law, medicine, or dentistry and who is actually engaged in the practice
thereof.” WAC 296-128-530(5). Although the WMWA does not contain any of the interpretative
language21 upon which EmCare relies, Plaintiffs recognize that Washington courts may consider
interpretations of comparable provisions of the FSLA as “persuasive authority.” Inniss v. Tandy
Corp., 141 Wash.2d 517, 524, 7 P.?)d 807 (2000). Nonetheless, these arguments would fail for the
same reasons detailed above. Accordingly, EmCare’s failure to pay in accordance with the FLSA

is, a priori, a violation of the Wl\./l\l\iA.22

 

21 As noted above, EmCare concedes that MLPs do not have “valid licenses permitting the practice
of medicine” unless one reads this requirement in the “context of” EmCare’s tortured interpretation of 29 C.F.R. §
531.314(1))(1).

22 However, a “three-year statute of limitations applies to actions under the WMWA.” Bennett v.

Computer Task Group, Inc., 47 P.3d 594, 595 (Wash.App. Div. 1 2002); In Re Farmers, 300 F.Supp.Zd at
1050(“The statute of limitations on plaintiffs' . . . Washington [state law overtime] claims is three years without
regard to willfulness.”)

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IV. CONCLUSION

Over a period of 60 years, including most recently this year, the Department of Labor has
consistently interpreted § 541 .3 as being limited to “doctors” and as not encompassing Mid»Levels.
All of those interpretations are entitled to Auer deference and they ALL contradict Defendants’
position in this case. Thus, regardless of the duties Mid-Levels perform, regardless of any
“evolution” in health care, regardless of whether Mid-Levels now perform “many of the functions
that were formerly carried out by physicians,” regardless of whether, like pharrnacists, they have
limited prescription writing authority, the simple fact is that, the DOL has consistently said, as
recently as four months ago, that § 541 .3 is limited to doctors. Given that Mid-Levels are
admittedly not doctors, they do not, as a matter of law, fall within the scope of that exception to

the salary basis requirement

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CERTIFICATE OF SERV[CE

This is to certify that a copy of the foregoing document was electronically filed on Au gust
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IN TI-[E UNITED S’I`A'I`ES DIS'I`RICT COURT
FOR THE EASTERN DISTRIC'I` OF TEXAS

TYLER DIVISION
JUNE BELT, et al. § CIVIL ACTION NO. 6:03-CV-73
§
Plaintiffs §
§ [COLLECTIVE ACTION]
v. §
§
(r) EMCARE, JNC., §
(2) TEXAS EM-l MEDICAL SERVICES, P.A. § [.IURY TRIAL DEMAN})EI)]
(3) S'I`. PAUL ERDOCS, P.A. §
§
Defendants § JUDGE DAVIS
APPENDIX TO

PLAIN'I`IFFS’ MOTION FOR PARTlAL SUl\/IMARY JUDGMENT

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